       Case: 23-35294, 06/13/2024,
Case 1:23-cv-03026-TOR             ID: 12891444,
                         ECF No. 151               DktEntry:
                                         filed 06/13/24      66, Page 1 of
                                                         PageID.2965       1 1 of 1
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                      UNITED STATES COURT OF APPEALS                         JUN 13 2024

                                                                         MOLLY C. DWYER, CLERK
                             FOR THE NINTH CIRCUIT                        U.S. COURT OF APPEALS




STATE OF WASHINGTON; et al.,                      No.   23-35294

               Plaintiffs-Appellees,              D.C. No. 1:23-cv-03026-TOR
                                                  Eastern District of Washington,
 v.                                               Yakima

U.S. FOOD & DRUG
ADMINISTRATION; et al.,                           ORDER

               Defendants-Appellees,

   v.

STATE OF IDAHO; et al.,

               Movants-Appellants.


Before: S.R. THOMAS, McKEOWN, and CHRISTEN, Circuit Judges.

        The parties are requested to submit supplemental briefs addressing the effect

of Food & Drug Administration et al. v. Alliance for Hippocratic Medicine et al.,

602 U.S.____ , 2024 WL 2964140 (U.S. June 13, 2024) on this appeal. The briefs

are not to exceed 7,000 words, and shall be filed within fourteen (14) days of the

date of this order.
